






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00213-CV






Susan Combs, Comptroller of Public Accounts of the State of Texas, and Greg Abbott,
Attorney General of the State of Texas, Appellants


v.


Texas Entertainment Association, Inc. and Karpod, Inc., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-07-004179, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING




C O N C U R R I N G   O P I N I O N


		Although I agree that strict scrutiny is the appropriate standard to apply in this case
and concur in the decision to affirm the trial court's judgment, I write separately to address the issue
raised by the parties concerning the use and relevance of post-enactment evidence in determining
the statute's predominant purpose.

		Our First Amendment analysis proceeds in three parts.  See City of Los Angeles
v.&nbsp;Alameda Books, Inc., 535 U.S. 425, 434 (2002) (plurality op.) (citing City of Renton v. Playtime
Theatres, Inc., 475 U.S. 41, 46, 47-49, 51-54 (1986)).  The first question, whether the challenged law
imposes a complete ban or is instead a "time, place, and manner" regulation, see id., is not in
contention here, as the parties agree that the fee or tax at issue is the latter.  The second question in
the analysis is whether the restriction is content-neutral or content-based, see id.; the answer to this
question determines what level of scrutiny should be applied, see City of Erie v. Pap's A.M.,
529&nbsp;U.S. 277, 278 (2000) (plurality op.).  A content-based regulation is considered presumptively
invalid and is subject to strict scrutiny.  Simon &amp; Schuster, Inc. v. Members of N. Y. State Crime
Victims Bd., 502 U.S. 105, 115, 118 (1991); Arkansas Writers' Project, Inc. v. Ragland,
481&nbsp;U.S.&nbsp;221, 230-31 (1987).  Government regulation of speech or other expressive activity is
content-neutral and subject only to intermediate scrutiny if it is adopted not "because of
disagreement with the message it conveys," but for reasons unrelated to the content of the speech. 
Hill v. Colorado, 530 U.S. 703, 720 (2000) (citing Ward v. Rock Against Racism, 491 U.S. 781, 791
(1989)).  Even in cases when a regulation has an incidental effect on some speakers or messages but
not others, however, it will be deemed content-neutral and reviewed under intermediate scrutiny if
its predominant purpose was aimed at perceived harmful secondary effects of the speech, rather than
at its content.  Alameda Books, 535 U.S. at 434; City of Renton, 475 U.S. at 48-49.  After
determining the level of scrutiny, the third part of the analysis involves applying the appropriate
constitutional standard to decide whether the regulation is narrowly tailored to promote a compelling
governmental interest (strict scrutiny), see Arkansas Writers' Project, 481 U.S. at 231, or narrowly
drawn to further a substantial governmental interest unrelated to the suppression of free speech
(intermediate scrutiny), see Turner Broad. Sys. v. Federal Commc'ns Comm'n, 512 U.S. 622,
662&nbsp;(1994).

		I agree with Justice Henson that, in the present case, the level-of-scrutiny inquiry (i.e.,
"question two") can properly be decided by considering the plain text of the statute at issue and its
statutory context.  See, e.g., Illusions - Dallas Private Club, Inc. v. Steen, 482 F.3d 299, 310 (5th Cir.
2007) (holding that statute's predominant purpose could be determined by considering text and
statutory context).  In addition to those factors, I believe it is also appropriate at this stage of the
inquiry to look beyond whether the statute is content-based or content-neutral on its face and
consider evidence regarding whether the statute's predominant purpose was to regulate speech or
to address secondary effects.  See City of Renton, 475 U.S. at 48-49.  To the extent that Justice
Henson's opinion suggests that secondary-effects analysis is or should be confined strictly to cases
involving zoning regulations, I do not adopt that view.  Given that, in determining the content
neutrality of any statute under the First Amendment, "[t]he government's purpose is the controlling
consideration," Ward, 491 U.S. at 791, it would be unwise to ignore evidence regarding whether the
government's actual purpose was to combat negative secondary effects.  Accordingly, I see no reason
to analyze and decide cases in which protected speech is regulated through imposition of a tax any
differently from cases in which it is regulated by a zoning restriction or other means.

		As the Eleventh Circuit has observed, while the Supreme Court has stated that zoning
ordinances and public-nudity ordinances should be reviewed under distinct standards, "the Court also
has sometimes collapsed the two categories into a single, overarching category of regulatory
action&nbsp;targeting the negative 'secondary effects' of non-obscene adult entertainment and drawn
conclusions&nbsp;about this single category."  Peek-a-Boo Lounge of Bradentown, Inc. v. Manatee City,
337&nbsp;F.3d&nbsp;1251, 1255 (11th Cir. 2003).  "Additionally, the Court has occasionally borrowed specific
doctrines developed in one category of case to apply to the other."  Id. at 1255-56 (citing Alameda
Books, 535 U.S. at 434 (plurality op.) (relying on Court's holding in Pap's A.M., a case involving
public-nudity ordinance, to explicate evidentiary showing necessary to sustain adult-entertainment
zoning ordinance); Barnes v. Glen Theatre, Inc., 501 U.S. 560, 583-84 (1991) (Souter, J.,
concurring) (relying on evidentiary standard described in Renton, a zoning case, to explicate
evidentiary showing necessary to sustain public-nudity ordinance)). (1)  Therefore, I would hold that
the Renton test may be applied here and that question two of that test may be decided by considering
evidence relevant to the issue of whether the legislature's predominant purpose in enacting the
statute was to address secondary effects.

		In the present case, the trial court made several written fact findings relating to the
absence of evidence that the statute's predominant purpose was to combat secondary effects of
combining nude dancing and alcohol:


The author of HB 1751, State Representative Ellen Cohen, testified before the House
Ways &amp; Means Committee that she claimed no link between sexual assault and the
businesses responsible for the fees to be paid.


The House Research Organization's Bill Analysis claimed no link between sexual
assault and the business responsible for the fees to be paid.


There is no evidence that the Legislature actually considered or saw any studies
claiming a link between sexual assault and the sexually oriented businesses that are
responsible for the SOB Tax.


Victoria Camp's testimony indicated that materials supporting the existence of such
links were made available to certain legislators, but no evidence showed that any
legislator had actually considered or even seen those materials.


There is no evidence that studies about sexually oriented businesses were created,
consulted, or reviewed by the Legislature prior to enacting HB 1751.



The State does not challenge those findings in this appeal.  The trial court also made the following
conclusion of law:  


If reliance by the Legislature on some pre-enactment evidence of links between
secondary effects and protected speech is a constitutional requirement (as is
suggested, not expressly held, by Supreme Court case law), the SOB Tax must be
held unconstitutional because no evidence indicating that the Legislature actually
considered any evidence of such links was presented at trial.



		The State argues that, in making the foregoing findings and conclusion, the trial court
created a "false distinction" between pre- and post-enactment evidence, which led it to determine
that the State's "evidence of a link between the combination of alcohol and nude dancing and
sexual&nbsp;assault" was insufficient.  Relying on Justice Souter's concurring opinion in Barnes and two
Fifth&nbsp;Circuit decisions, see Fantasy Ranch, 459 F.3d at 560; N.W. Enters. Inc. v. City of Houston,
352&nbsp;F.3d 162, 175 (5th Cir. 2003), the State argues that the Supreme Court has never required the
government to produce "pre-enactment evidence" of legislative purpose in order to meet its burden
of showing that a statute is content-neutral.  The State's reliance on these cases is inapposite.

		While Justice Souter did urge that "the appropriate focus is not an empirical enquiry
into the actual intent of the enacting legislature, but rather the existence or not of a current
governmental interest in the service of which the challenged application of the statute may be
constitutional," see id. at 582, his comments were made in the context of a discussion of question
three of the Renton analysis--whether the government satisfied the intermediate-scrutiny standard
by producing sufficient evidence of a link between the challenged regulation and the asserted interest
in combating secondary effects.  Likewise, the statements in the cited Fifth Circuit cases regarding
the use of post-enactment evidence were made in the context of question-three discussions. (2)  But
inquiring into whether a statute's purpose was to address secondary effects is wholly distinct from
inquiring into whether the statute can be justified on the basis that it actually furthers an important
or substantial governmental interest in combating negative secondary effects; the former determines
the level of scrutiny to be applied, while the latter determines whether the statute passes
constitutional muster under the applicable standard.  Although I agree that post-enactment evidence
may be considered in answering question three, and is often essential to that inquiry, it is far from
clear that post-enactment evidence--even evidence directly relevant to purpose--may properly be
considered in answering question two.  See, e.g., Illusions, 482 F.3d at 310 n.7 (declining to address
question of whether district court erred in relying on state's post-enactment assertion of secondary-effects purpose as basis for applying intermediate scrutiny, having decided that statute was content-neutral based on its plain text and statutory context); White River Amusement Pub, Inc. v. Town of
Hartford, 481 F.3d 163, 171-72 (2d Cir. 2007) (concluding that Renton permits consideration only
of pre-enactment evidence at question-two stage); Dream Palace, 384 F.3d at 1013-14 (same);
Peek-A-Boo Lounge, 337 F.3d at 1268 &amp; n.16 (same); SOB, Inc. v. County of Benton, 317 F.3d 856,
862 (8th Cir. 2003) (same); D.H.L. Assocs., Inc. v. O'Gorman, 199 F.3d 50, 57-58 (1st Cir. 1999)
(same); Z.J. Gifts D-2, L.L.C. v. City of Aurora, 136 F.3d 683, 690 (10th Cir. 1998) (same).

		Irrespective of whether courts may properly consider post-enactment evidence of
purpose in answering question two, however, all of the State's post-enactment evidence in this case
was relevant to the issue of whether the statute can be justified (question three), not its purpose
(question two).  As the trial court explained in its detailed findings of fact, the record in this case
does not contain evidence--either pre- or post-enactment--that the legislature's predominant
purpose in enacting the statute was to combat perceived negative secondary effects of combining
alcohol and nude dancing.  Thus, the State's argument that the trial court created a false distinction
between pre- and post-enactment evidence is unavailing, because no evidence was produced showing
that the legislature's purpose was aimed at secondary effects.

		In sum, I agree with Justice Henson that the text and context of the statute show that
it is a content-based restriction.  Therefore, in the absence of any evidence that the legislature's
predominant purpose was to address secondary effects, the statute may not be deemed content-neutral and must be reviewed under strict scrutiny, see City of Renton, 475 U.S. at 48-49, which the
State has conceded it cannot meet.

		I join the "Sovereign Immunity" and "Attorneys' Fees" sections of Justice Henson's
opinion.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Henson

Filed:   June 5, 2009


									

												
1.   See also City of Erie v. Pap's A.M., 529 U.S. 277, 281-82 (2000) (plurality op.) (applying
Renton's secondary-effects doctrine to justify non-zoning restrictions); Ward v. Rock Against
Racism, 491 U.S. 781, 791 (1989) (citing Renton for proposition that "[a] regulation that serves
purposes unrelated to the content of expression is deemed neutral, even if it has an incidental effect
on some speakers or messages but not others" in non-zoning context).  The federal courts of appeals
have followed suit.  See, e.g., Fantasy Ranch Inc. v. City of Arlington, 459 F.3d 546, 556 (5th Cir.
2006) (holding that city ordinance requiring sexually oriented businesses to enforce proximity
provisions between nude dancers and patrons was content-neutral because "the ordinance's
predominate concern is for secondary effects"); Dream Palace v. County of Maricopa, 384 F.3d 990,
1013 (9th Cir. 2004) (equating second question of Renton test to determination of whether statute
was designed to combat secondary effects of adult entertainment industry); G.M. Enters., Inc.
v.&nbsp;Town of St. Joseph, 350 F.3d 631, 637 (7th Cir. 2003) (focusing level-of-scrutiny inquiry solely
on whether ordinances targeted secondary effects of sexually oriented businesses and opting not to
decide whether ordinances were content-based or content-neutral).
2.   See Fantasy Ranch, 459 F.3d at 560-61 (discussing post-enactment evidence in
determining whether ordinance furthered important or substantial government interest); N.W. Enters.
Inc. v. City of Houston, 352 F.3d 162, 175 (5th Cir. 2003) (holding same and noting that
question-two stage is not appropriate point to require legislature "to show evidence of negative
secondary effects and of the new regulations' efficacy" because "[d]isputes over the effectiveness
of the proposed regulations are properly reserved for the final prong of the Renton analysis").


